           ROPES & GRAY LLP
           1211 AVENUE OF THE AMERICAS
           NEW YORK, NY 10036-8704
           WWW.ROPESGRAY.COM




February 22, 2022                                                    Michael G. McGovern
                                                                     T +1 212 841 8860
                                                                     michael.mcgovern@ropesgray.com

BY ECF

The Honorable Brian M. Cogan
U.S. District Court for the Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

Re:    Force, et al. v. Qatar Charity, et al., No. 20-cv-2578 (BMC)

Dear Judge Cogan,

        Pursuant to Rule III.A.2 of Your Honor’s Individual Practices, Qatar National Bank
Q.P.S.C. (“QNB”) writes in response to Plaintiffs’ letter motion dated February 17, 2022, ECF
No. 60 (the “Letter”). QNB renews its objection to jurisdictional discovery occurring before
Plaintiffs have responded to QNB’s Motion to Dismiss Plaintiffs’ Complaint, ECF No. 56 & 56-
1 (the “Motion”), and accordingly objects to Plaintiffs’ request for an open-ended extension of
time to respond to the Motion. As we establish below: 1) Plaintiffs’ request for jurisdictional
discovery as to QNB is improper; 2) Plaintiffs’ request for jurisdictional discovery as to QNB is,
at best, premature given the strength of QNB’s pending motion to dismiss Plaintiffs’ threadbare
ATA/JASTA claims under Fed. R. Civ. P. 12(b)(6); and 3) alternative service under Fed. R. Civ.
P. 4(f)(3) should be denied.

Plaintiffs’ Request for Jurisdictional Discovery as to QNB Is Improper.

        Plaintiffs concede, as they must, that they have yet to make a prima facie showing of
personal jurisdiction over QNB. See Letter at 2. Nonetheless, they ask that the Court afford
them invasive, broad-ranging discovery as to QNB based on the dubious assertion that they have
made a “sufficient start” toward such a showing. Letter at 1 (quoting Hollins v. U.S. Tennis
Ass’n, 469 F. Supp. 2d 67, 70-71 (E.D.N.Y. 2006)). While this Court may order jurisdictional
discovery even in the absence of a prima facie showing of personal jurisdiction, a plaintiff is
“[o]bviously . . . not entitled to such discovery in every situation, but rather only when the
allegations are sufficient to articulate a colorable basis for personal jurisdiction, which could be
established with further development of the factual record.” Leon v. Shmukler, 992 F. Supp. 2d
179, 195 (E.D.N.Y 2014); Ayyash v. Bank Al–Madina, No. 04-cv-9201 (GEL), 2006 WL
587342, at *5 (S.D.N.Y. Mar. 9, 2006) (discovery not warranted without “a threshold showing
that there is some basis for the assertion of jurisdiction [and] facts that would support a colorable
claim of jurisdiction.”). Where, as is the case with QNB, a defendant challenges only the legal
basis for a plaintiff’s assertion of personal jurisdiction, jurisdictional discovery is not
appropriate. Langenberg v. Sofair, No. 03-cv-8339 (KMK), 2006 WL 2628348, at *6 (S.D.N.Y.
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Sept. 11, 2006) (“As a rule, a plaintiff is not entitled to jurisdictional discovery to enable her to
bolster an inadequate pleading if the defendant merely challenges the legal sufficiency of the
jurisdictional allegations in the complaint, and does not place the factual basis for personal
jurisdiction in issue.”).

         Each of Plaintiffs’ proffered bases for their “conspiracy” theory of personal jurisdiction
fails as a matter of law. As explained in QNB’s opening brief, a conspiracy theory of personal
jurisdiction is not available under Section 302(a)(1) of New York’s long arm statute. See Motion
at 9-12. Having now realized that their theory of personal jurisdiction fails as a matter of New
York law, Plaintiffs attempt to invoke Fed. R. Civ. P. 4(k)(2). See Letter at 2. To invoke that
provision, however, Plaintiffs would first need to certify to this Court that QNB is not subject to
personal jurisdiction in any state. See Fed. R. Civ. P. 4(k)(2)(A); Aqua Shield, Inc. v. Inter Pool
Cover Team, No. 05-cv-4880 (CBA), 2007 WL 4326793, at *8 (E.D.N.Y. Dec. 7, 2007) (“[T]he
plaintiff must certify that, based on the information that is readily available to the plaintiff and
his counsel, the defendant is not subject to suit in the courts of general jurisdiction of any
state.”); Astor Chocolate Corp. v. Elite Gold Ltd., 510 F. Supp. 3d 108, 134 (S.D.N.Y. 2020)
(collecting cases) (same); see also Motus, LLC v. CarData Consultants, Inc., 23 F.4th 115, 127
(1st Cir. 2022) (“The certification is a necessary component of the showing that the plaintiff
must make [under Rule 4(k)(2)].”). Rather than make that requisite showing, Plaintiffs are
arguing the exact opposite. Because each of Plaintiffs’ legal theories for assertion of jurisdiction
over QNB fails as a matter of law, they have not made even a “sufficient start” toward
establishing personal jurisdiction over QNB in this forum. Accordingly, their request for
jurisdictional discovery should be denied as improper.

        Finally, the legal deficiencies of Plaintiffs’ theories of personal jurisdiction are not
remedied by their rank speculation that QNB must have “used the U.S. banking system to further
the FTOs’ objectives.” Letter at 3-4. Rather, this is precisely the kind of “entirely speculative
and insufficient” assertion that courts repeatedly have rejected as a basis for jurisdictional
discovery. See, e.g., Century Sports, Inc. v. Ross Bicycles, LLC, No. 19-cv-4842 (JS) (ARL),
2021 WL 1108639, at *5 (E.D.N.Y. Mar. 23, 2021). A plaintiff cannot simply assert that
defendants “undoubtedly included New York” transactions, id., which is all Plaintiffs do here.
See Letter at 2 (expressing hope that discovery “will show that Defendants [including QNB] used
correspondent banks in New York . . . to effectuate inter-bank transfers of U.S. dollars that
financed Hamas and [PIJ]”). “Whatever speculations or hopes plaintiff may have that further
connections to New York will come to light in discovery, plaintiff has not provided sufficient
facts to establish the jurisdiction that is a prerequisite to any such discovery.” Rosenberg v. PK
Graphics, No. 03-cv-6655 (NRB), 2004 WL 1057621, at *1 (S.D.N.Y. May 10, 2004). The fact
that Plaintiffs make no effort to distinguish their proposed discovery requests to MAR from those
to QNB, despite the significant differences in how the banks are situated within the Complaint’s
allegations (particularly in regard to personal jurisdiction), confirms that this is nothing more
than a fishing expedition into QNB that the Second Circuit has held to be impermissible.
Discovery would do nothing but waste QNB’s and the Court’s resources in an attempt to salvage
their legally deficient theories. Plaintiffs have “a problem of kind, not degree—[they] need[]
new jurisdictional theories, not more evidence substantiating the theories [they have] already
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advanced.” Trachtenberg v. FailedMessiah.com, 43 F. Supp. 3d 198, 205 (E.D.N.Y. 2014)
(Cogan, J.) (denying plaintiffs’ request for limited jurisdictional discovery).

Plaintiffs’ Request for Jurisdictional Discovery Is Premature in Light of QNB’s Arguments
Under Rule 12(b)(6).

        Even were the Court to overlook the legal deficiencies of Plaintiffs’ theories of personal
jurisdiction as to QNB, the Court should deny their request for jurisdictional discovery as a
premature effort “to put the cart before the horse.” As the Court noted at the pre-motion
conference, it needs to consider the strength of QNB’s 12(b)(6) arguments before addressing
whether any such discovery is warranted at all. See Jan 28, 2022 Tr. at 33:21-24 (“[F]rankly,
when I’ve read in detail the defendant motions, I may be able to form a view as to how likely it is
that the case might go completely away so that we don’t need discovery.”). Permitting
jurisdictional discovery ahead of full briefing and consideration of the pending motions to
dismiss would essentially lead to a “mini-litigation on the threshold issue,” which “should be
avoided if possible,” as this would “introduc[e] a preliminary round that could last months just to
get to square one.” Northfield Ins. Co. v. GM Star Constr., Inc., 532 F. Supp. 3d 73, 74
(E.D.N.Y. 2021) (Cogan, J.) (denying jurisdictional discovery).

        The strength of QNB’s 12(b)(6) arguments, as well as the thinness of Plaintiffs’
allegations, counsels this reasonable approach, and Plaintiffs should be required to address the
numerous, flagrant deficiencies in their primary and secondary liability claims against QNB
before obtaining any discovery. See, e.g., In re Terrorist Attacks on September 11, 2001, 740 F.
Supp. 2d 494, 511 (S.D.N.Y. 2010) (“The resolution of a motion to dismiss for failure to state a
claim is not dependent on matters disclosed during jurisdictional discovery. A Rule 12(b)(6)
motion tests the sufficiency of the plaintiffs’ pleadings. A defendant is not put to the onerous
task of engaging in intrusive and expensive discovery in order to assist a plaintiff in the hopes of
uncovering evidence of an actionable wrong, so as to justify the maintenance of the action.”
(emphases added)). As other courts have observed, “[i]f sparse jurisdictional allegations, like
those in this case, could force a foreign defendant to submit to discovery, the federal courts
would be required ‘to conduct substantial jurisdictional discovery over foreign corporations—a
practice in which they have not hitherto engaged.’” In re Teligent, Inc., No. 01-12974 (SMB),
2004 WL 724945, at *6 (Bankr. S.D.N.Y. Mar. 30, 2004) (quoting Jazini v. Nissan Motor Co.,
148 F.3d 181, 185-86 (2d Cir. 1998)). Thus, the Court should deny Plaintiffs’ request for
jurisdictional discovery, as well as their request for an open-ended extension of time to respond
to QNB’s motion to dismiss.

Alternative Service Under Fed. R. Civ. P. 4(f)(3) Should Be Denied.

        Instead of addressing QNB’s argument that Plaintiffs’ attempted service under Fed. R.
Civ. P. 4(f)(2)(C)(ii) is plainly insufficient (because Qatari law prohibits their attempted method
of service), Plaintiffs now switch tracks and invoke Fed. R. Civ. P. 4(f)(3) in order to effect
alternative service on Defendants by e-mail to their respective counsel. Their arguments do
nothing to address the legitimate concerns surrounding the exercise of sovereign power in the
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territory of another without its consent. See Motion at 6 (citing AG of Can. v. R.J. Reynolds
Tobacco Holdings, Inc., 268 F.3d 103, 111 n.6 (2d Cir. 2001)).

        While it is true that the “decision whether to allow alternative methods of serving process
under Rule 4(f)(3) is committed to the sound discretion of the district court,” Group One Ltd. v.
GTE GmbH, 523 F. Supp. 3d 323, 342 (E.D.N.Y. 2021) (internal quotation marks omitted),
Plaintiffs ignore certain important caveats here. First, “before ordering alternative service under
Rule 4(f)(3), some courts have required: (1) a showing that the plaintiff has reasonably attempted
to effectuate service on the defendant, and (2) a showing that the circumstances are such that the
court’s intervention is necessary.” In re Grana y Montero S.A.A. Sec. Litig., No. 17-cv-1105
(JMA) (ARL), 2019 WL 259778, at *4 (E.D.N.Y. Jan. 9, 2019) (emphasis added), R&R adopted,
2019 WL 1046627 (E.D.N.Y. Mar. 5, 2019). Plaintiffs represent that the letters rogatory process
is well underway, noting in their pre-motion letter that “service pursuant to letters rogatory is
currently in process after an extended government delay precipitated by the pandemic.” Letter at
6 (emphasis added). Plaintiffs do not represent that any future delays are anticipated, and they
represent their ironclad certainty that the Defendants will be served via letters rogatory. See id.
Therefore, by Plaintiffs’ own representations, the Court’s intervention is not necessary in this
context (and separately would place any final judgment on less firm ground when it comes to
enforcement within Qatar). Second, one of the justifications for the necessity inquiry, as “[s]ome
courts have held[, is] that principles of comity encourage the court to insist, as a matter of
discretion, a plaintiff attempt to follow foreign law in its efforts to secure service of process upon
defendant.” In re GLG Life Tech Corp. Sec. Litig., 287 F.R.D. 262, 266 (S.D.N.Y. 2012)
(emphases added) (internal quotation marks omitted). Indeed, the Committee Notes to Rule
4(f)(3) note that “an earnest effort should be made to devise a method of communication that is
consistent with due process and minimizes offense to foreign law.” Fed. R. Civ. P. 4(f)(3), Notes
of Advisory Committee on Rules – 1993 Amendment (emphasis added). Here, where Plaintiffs’
method of service is ostensibly prohibited by Qatari law,1 service other than by letters rogatory
or through relevant Qatari authority would maximize offense to foreign law, in contravention of
principles of comity. QNB recognizes the Court’s discretion in this matter and encourages the
Court to exercise that discretion by allowing service to be properly effected in this case in
denying Plaintiffs’ motion for alternative service under Rule 4(f)(3).

                                                             Respectfully submitted,

                                                             /s/ Michael G. McGovern
                                                             Michael G. McGovern
                                                             Douglas Hallward-Driemeier (pro hac vice)
cc:     All counsel of record (by ECF)

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  Article 2 of the same law cited by Plaintiffs’ first pre-motion letter clearly states that “[e]very summons or
execution shall be served through the police or any other authority appointed by the President of the Supreme
Judicial Council,” with the only carveout being for a Qatari court to effect service by registered mail. See Qatar
Civil and Commercial Procedure Law (Law No. 13 of 1990), https://www.almeezan.qa/LawArticles.aspx?
LawTreeSectionID=8075&lawId=2492&language=en (emphases added); see also ECF No. 54 at 2 (citing same
law). This language suggests that Plaintiffs’ method of service is prohibited by Qatari law.
